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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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SHEILA RODRIGUEZ,

                                 Plaintiff,                        21-cv-10815 (PKC)

                -against-                                             ORDER


CITY OF NEW YORK, etc.,

                                  Defendant.
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CASTEL, U.S.D.J.

                The City of New York (the “City”) seeks to have this Court reconsider its March

22, 2022 Order coordinating discovery in this action with the discovery in In re NY City Policing

During Summer 2020 Demonstrations, 20-cv-8924(CM) (“Summer 2020”). Contrary to its

intended purpose, the City’s letter of March 28, 2022 highlights the wisdom of coordination.

                The City notes that four of the lawyers in this action are also counsel in Summer

2020 and have access to the discovery produced in Summer 2020 and presumably will have

access to the April 1, 2022 supplemental production. This suggests the burden on the City is

negligible. Counsel for the plaintiffs have advised the Court that there is “no need [for the City]

to redisclose anything. . . .” (Ltr. Mar. 30, 2022; Doc 16. ) If the material has been or will be

produced in Summer 2020, then it is deemed produced in this action, subject to a similarly

worded protective order. The ”high level” depositions in Summer 2020 will be attended by

counsel for the City and counsel in Summer 2020, who, as the City points out overlap with

counsel in this action, and therefore it is efficient and appropriate to have that discovery

coordinated with the discovery in this action.
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               The Court has not and does not intend to decide at the juncture whether the

plaintiffs have a viable Monell claim. The Court has not decided whether any summary

judgment motion or trial relating to any Monell claim ought to go forward or be stayed or

bifurcated. Circumstances unique to the overlap between this action and Summer 2020 make it

efficient that Monell discovery in this action that overlaps Monell discovery in Summer 2020 go

forward.

               The City’s letter motion (Doc 15) is DENIED. Plaintiffs’ letter motion (Doc 16)

is GRANTED to the limited extent that the Court directs the parties to meet and confer pursuant

to Rule 26(f), Fed. R. Civ. P.


               SO ORDERED.




Dated: New York, New York
       March 30, 2022




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